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    Counsel for UBS Securities LLC and UBS
    AG London Branch

                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

------------------------------------------------------------
In re                                                        §       Chapter 11
                                                             §
HIGHLAND CAPITAL MANAGEMENT, L.P.,1 §                                Case No. 19-34054-sgj11
                                                             §
                                    Debtor.                  §
----------------------------------------------------------- §
UBS SECURITIES LLC AND UBS AG                                §       Adversary Proceeding
LONDON BRANCH,                                               §
                                                             §       No. 21-03020
                        Plaintiffs,                          §
                                                             §
vs.                                                          §
                                                             §
HIGHLAND CAPITAL MANAGEMENT, L.P., §
                                                             §
                                    Defendant.               §
-----------------------------------------------------------


1
 The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service address
for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.
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 APPENDIX OF EXHIBITS IN SUPPORT OF PLAINTIFFS’ MOTION FOR AN ORDER
          AUTHORIZING ALTERNATIVE SERVICE OF SUBPOENAS

        UBS Securities LLC and UBS AG London Branch (together “UBS”), by and through their

 undersigned counsel, submit this appendix of exhibits (the “Appendix”) in support of Plaintiffs’

 Motion for an Order Authorizing Alternative Service of Subpoenas, filed concurrently herewith.

 The following exhibits are attached to this Appendix:

Ex.                                   Description                                      App. No.
No.

A      Declaration of Kathryn George in Support of Plaintiffs’ Motion for an          UBS001-04
       Order Authorizing Alternative Service of Subpoenas

1      Exhibit 1 to the George Declaration: March 30, 2021 email from Robert          UBS005-11
       Allen to Clay Taylor, among others, with the subject “Document
       Preservation Notice”

2      Exhibit 2 to the George Declaration: March 31-April 1, 2021 emails             UBS012-58
       between Clay Taylor and Andrew Clubok, among others, with the subject
       “21-03020-sgj Complaint Filed Under Seal”

3      Exhibit 3 to the George Declaration: April 1-5, 2021 emails between            UBS059-62
       Robert Allen and Clay Taylor, among others, with the subject “Notices
       and Subpoenas to Mr. James Dondero”

4      Exhibit 4 to the George Declaration: April 16, 2021 emails between Sarah       UBS063-66
       Tomkowiak and Clay Taylor, among others, with the subject “UBS /
       Highland”

5      Exhibit 5 to the George Declaration: Michael Hernandez’s Affidavit of          UBS067-69
       Attempted Service on James Dondero

6      Exhibit 6 to the George Declaration: Donna King’s Affidavit of Attempted       UBS070-74
       Service on James Dondero

7      Exhibit 7 to the George Declaration: Whitnie Climer’s Affidavit of             UBS075-77
       Attempted Service on James Dondero

8      Exhibit 8 to the George Declaration: Donna King’s second Affidavit of          UBS078-81
       Attempted Service on James Dondero




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Ex.                                   Description                                     App. No.
No.

B      Mot. for Alternative Serv., In re Victor Manuel Gallegos, No. 16-32555        UBS082-87
       (Bankr. S.D. Tex. Aug. 14, 2017), Dkt. No. 74

C      Order on Pl.’s Mot. for Alt. Serv., In re Victor Manuel Gallegos, No. 16-     UBS088-90
       32555 (Bankr. S.D. Tex. Aug. 15, 2017), Dkt. No. 75

D      Agreed Order Granting Agreed Mot. for Alt. Serv. of Dep. Subpoena,            UBS091-93
       AMAX Inv. Co. v. Amtrust Ins. Co. of Kan., Inc., No. 3:13-cv-1589 (N.D.
       Tex. Aug. 19, 2014), Dkt. No. 39




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DATED this 19th day of April, 2021.

LATHAM & WATKINS LLP

By /s/ Andrew Clubok

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